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Printed Item 1471
From:
                (b) (6), (b) (7)(C), (b) (7)(E)
To:




Cc:




Bcc:
Subject:         Incident reports needed
Date:            Fri Sep 25 2015 04:01:23 EDT
Attachments:     image001.jpg
                 image002.gif

On 09/12/2015, there were (b) (6), (b) (7)(C), (b) (7)(F) that were processed in the AEU at approximately
0220. SCBPO (b) (6), (b) (7)(C)needs Incident Reports from you concerning your involvement in this. Please
complete and turn them into Ops ASAP.



Thaanks,



(b) (6), (b) (7)(C)
San Ysidro Port of Entry Branch Chief

Pursuit Program Chief

720 E. San Ysidro Blvd.

San Ysidro, California 92173

Office:        (b) (6), (b) (7)(C)

Blackberry:    (b) (6), (b) (7)(C)

Email:          (b) (6), (b) (7)(C)
            Case 1:20-cv-00681-CKK Document 28-2 Filed 04/21/21 Page 4 of 6




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            Case 1:20-cv-00681-CKK Document 28-2 Filed 04/21/21 Page 6 of 6




Respectfully,



(b) (6), (b) (7)(C)

Supervisory Customs and Border Protection Officer

Admissibility Enforcement Unit

Otay Mesa/San Ysidro Port of Entry

(b) (6), (b) (7)(C)

     (b) (6), (b) (7)(C)

From (b) (6), (b) (7)(C)
Sent: Thursday, September 24, 2015 1:33 PM
To:                     (b) (6), (b) (7)(C)
Subject    (b) (7)(E)


Good Afternoon,



I have attached a scanned copy of (b) (7)(E) which identifies all subjects involved in this case.



I have also attached scanned copies of two Appendix Ds that I was able to locate. It appears that two
subjects were fingerprinted around 0500 hrs according to (b) (7)(E)Transaction ID.




COUSIN SABRA, Fleta Christina




Driver: ALLOUSH, Shero A
